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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                             GALVESTON DIVISION

TERRY AUSAMA                   §                 C.A. NO. 3:19-cv-00015
                               §
VS.                            §
                               §
ARENA OFFSHORE, LP, ET AL      §
ARENA OFFSHORE OPERATING, LLC, §
C & G BOATS, INC. and          §
MS. EMELIE ROSE, IN REM        §                 JURY TRIAL DEMANDED

                     STIPULATION OF PARTIAL DISMISSAL

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       COMES NOW Plaintiff Terry Ausama, and files this Stipulation pursuant to Rule

41(a)(1)(A)(ii), Fed.R.Civ.P., dismissing his claims, without prejudice, against

Defendants C & G Boats, Inc. and Ms. Emelie Rose, in rem, only, each party to bear its

own costs.

                                          Respectfully submitted,

                                          /s/ Marcus R. Spagnoletti
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                                          ATTORNEY FOR PLAINTIFF
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                                       /s/ Alan J. Meche
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                                       ATTORNEYS FOR DEFENDANT
                                       C & G BOATS, INC.


                                       /s/ Kenneth W. Bullock, II
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                                       ATTORNEYS FOR DEFENDANTS
                                       ARENA OFFSHORE, LP and
                                       ARENA OFFSHORE OPERATING, LLC


                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that service of the foregoing was on this date automatically
accomplished on all counsel of record via CM/ECF Notice of Electronic Filing, in
accordance with the Federal Rules of Civil Procedure on this 7th day of March, 2019.

                                       /s/ Marcus R. Spagnoletti
                                       Marcus R. Spagnoletti




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